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7                           UNITED STATES DISTRICT COURT
8                         SOUTHERN DISTRICT OF CALIFORNIA
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10    UNITED STATES OF AMERICA,                      Case No.: 19-cv-0003-DMS-KSC
11                                      Plaintiff,
                                                     ORDER GRANTING MOTION TO
12    v.                                             STRIKE CO-DEFENDANT’S
                                                     ANSWER
13    OMAR G. FIRESTONE, MARTA E.
      FIRESTONE, LEILA A. FIRESTONE,
14
      and ENRIQUE QUIJADA,
15                                   Defendants.
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17         Defendants Leila A. Firestone, Marta E. Firestone, and Enrique Quijada filed a
18   Motion to Strike the Answer of Defendant Omar Firestone on October 16, 2019. (ECF No.
19   18.) On August 28, 2020, the Court ordered Defendant Omar Firestone to file a response
20   on or before September 14, 2020. (ECF No. 29.) Defendant Omar Firestone did not file a
21   response to the motion to strike. After considering the motion and the record on file herein,
22   the Court grants the motion. Defendant Omar Firestone’s answer (ECF No. 14) is stricken.
23         IT IS SO ORDERED.
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25   Dated: September 25, 2020
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